                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

MARY L. McCLUNE,

       Plaintiff,                                       Cause No. 4:18-CV-00370

vs.
                                                       Removed from Circuit
FARMERS INSURANCE COMPANY,                             Court of Jackson County
INC.                                                   Case No. 1816-CV10500

        Defendants.                                     JURY TRIAL DEMANDED

             DEFENDANT FARMERS
                             'MOTION FOR SUMMARY JUDGMENT

        COMES NOW Farmers Insurance Company, Inc. ("Farmers"), by and through

undersigned counsel, and for its Motion for Summary Judgment Pursuant to Rule 56 ofthe Federal

Rules of Civil Procedure, hereby states:

        1.      On April 23, 2018, Plaintiff sued Farmers for breach of contract and vexatious

refusal to pay in relation to her claim for uninsured motorist (UIM) benefits arising out of an

August 16, 2014, automobile accident. Farmers properly removed the matter from Missouri state

court to this Court.

       2.       Plaintiff was paid $100,000.00 by State Farm, the allegedly at-fault driver's auto

insurer, to settle her claim against the allegedly at-fault driver. After settling this claim, Plaintiff

made a claim for UIM benefits against Farmers.

        3.      A valid contract of insurance existed between Plaintiff and Farmers with Policy

Number 195625554 (the "Policy"), which provided UIM benefits to Plaintiff of $500,000.00 per

person and $500,000.00 per occurrence, subject to the policy conditions and provisions. The

Policy was in effect on August 16, 2014.




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       4.      The Policy set forth certain duties of persons claiming coverage thereunder. These

duties included the following:

              "A person claiming any coverage of this policy must also:

               1.       Cooperate with us and assist us in any matter concerning a claim or suit.



               4.       Authorize us to obtain medical and other records.

               5.       Provide any written proofs of loss we require.



               8.       Submit to examination under oath upon our request.

                                                ***



       PART V - CONDITIONS

                                                ***



       3.      Legal Action Against Us

       We may not be sued unless there is full compliance with all the terms of this policy."

       5.      Plaintiff violated the aforementioned duties while Farmers attempted to evaluate

her claim arising out of the August 16, 2014, accident, in that: (1) she unjustifiably refused to

submit to an examination under oath; (2) she unjustifiably failed to produce all of her medical

records applicable to the claimed loss despite multiple requests from Farmers; and(3)she initiated

and continues to prosecute the present litigation against Farmers while persisting in her unjustified

refusal to cooperate.

       6.      Plaintiff's UIM claim is based on two alleged injuries:(a) a right rotator cuff tear,

which was disclosed at the outset of the UIM claim in 2016; and,(b) a left rotator cuff tear, which

Plaintiff now claims she suffered due to "over-use" of her left shoulder while her right shoulder




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recovered from surgery. Plaintiff made this contention about a left rotator cuff injury for the first

time in a demand dated July 11, 2017, well over a year after she first made her UIM claim to

Farmers.

       7.      Plaintiff did not provide Farmers her complete set of medical records related to the

left shoulder with the July 11, 2017, demand. In particular, at that time, Plaintiff failed to produce

an MRI of her left shoulder dated June 25, 2015 (the "6/25/15 MRI"). However, a record from

another physician referenced this MRI, and stated that the MRI did not show a left rotator cuff

tear. Farmers was only notified of the 6/25/15 MRI due to another provider making reference to

its existence. In the July 11, 2017, demand, Plaintiff instead notified Farmers of an August 24,

2016, MRI of the left shoulder that did show a rotator cuff tear.

       8.      This was a critical omission because Plaintiff's other records reflect that, as of April

2,2015,Plaintiff had been discharged from treatment for her right shoulder and had achieved 95%

improvement. The fact that the 6/25/15 MRI, taken three months after such discharge, did not

affirmatively state she had a left rotator cuff tear raised serious questions about Plaintiffs

contention that her left rotator cuff tear was caused by "over-use" of the left shoulder while the

right shoulder underwent treatment.

       9.      The July 11, 2017, demand claimed that an orthopedic specialist, Dr. Jeffrey

MacMillan, was of the opinion that Plaintiff's left rotator cuff tear was caused by her over-use of

the left shoulder while the right shoulder underwent treatment. However,Plaintiff did not provide

a report from Dr. MacMillan at that time.

        10.    On July 26,2017,Farmers sent a letter to Plaintiffs counsel requesting that Plaintiff

produce the 6/25/15 MRI,Dr. MacMillan's report, and records from Dr. Kathleen Eubanks-Meng,




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Plaintiff's primary care physician. Plaintiff produced additional items to Farmers on October 20,

2017, including the 6/25/15 MRI and Dr. MacMillan's report.

       1 1.    The records produced by Plaintiff on October 20, 2017, revealed that Plaintiffs

primary care physician, Dr. Eubanks-Meng, ordered the 6/25/15 MRI, which was taken at

Diagnostic Imaging Center. However, prior to suit being filed, Farmers was not provided with

any records from Dr. Eubanks-Meng relating to Plaintiffs alleged left shoulder injury or the

ordering of the 6/25/15 MRI. The latest date of treatment with Dr. Eubanks-Meng produced to

Farmers pre-suit occurred on April 2, 2015,and that visit made no mention ofa left shoulder injury

or an order for a left shoulder MRI.

       12.     Farmers eventually retained the undersigned to assist in the evaluation ofPlaintiffs

UIM claim. On April 17, 2018, the undersigned sent a letter to counsel for Plaintiff requesting all

of her medical records relating to her claimed loss. The undersigned also stated Farmers' intention

to take Plaintiffs examination under oath. The need for additional investigation was apparent.

As of April 17, 2018, Farmers had no information about Plaintiffs left shoulder condition from

around April 2015 to June of 2015. This time period was critical because: (a) Plaintiff had been

discharged from treatment to the right shoulder in April 2015;(b)Plaintiffs 6/25/15 MRI showed

that she had no rotator cuff tear; and (c) Plaintiffs causation theory posited that over-use of her

left shoulder during treatment for her right shoulder caused the left rotator cuff tear. Because

Farmers had serious questions about the validity of Plaintiffs causation theory, Farmers needed

to further investigate causation to adequately evaluate the claim. The acquisition of additional

records and a pre-suit examination under oath of Plaintiff were essential to obtain an adequate

evaluation.




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        13.     Plaintiff ignored Farmers' request for her cooperation in evaluating the claim.

Instead, on April 23, 2018 (six days later after the request for an EUO and additional documents),

Plaintiff filed suit against Farmers. On April 24, 2018,counsel for Plaintiff sent a letter to Farmers

stating that she refused to provide Farmers additional documentation or submit to an examination

under oath.

        14.     Farmers never denied Plaintiffs UIM claim. Farmers communicated to Plaintiff

that additional investigation was required to properly evaluate her claim.

        15.     Farmers suffered substantial prejudice from Plaintiffs violation of her duties under

the Policy, in that:

                       a. Plaintiff's non-cooperation deprived Farmers of its right to complete its

                          investigation and to issue a ruling on Plaintiffs claim;

                       b. Farmers was deprived of its right to obtain a complete set of Plaintiff s

                          medical records applicable to her injury claim;

                       c. Farmers was deprived of its right to take a pre-suit examination under oath

                          of Plaintiff to ask questions essential to a proper evaluation of her UIM

                          claim; and

                       d. Farmers has been wrongly forced to incur the expense and risk associated

                          with litigation of this lawsuit due to Plaintiffs non-cooperation.

        16.     Farmers exercised reasonable diligence to secure Plaintiffs cooperation. Plaintiff

unjustifiably refused to discharge her duties under the Policy and instead sued Farmers.

        17.     There is no dispute as to the facts material to the disposition of this Motion for

Summary Judgment. Those undisputed material facts demonstrate Farmers' entitled to judgment

as a matter of law pursuant to clearly established law. See, e.g., Roller v. Am. Modern Home Ins.




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Co., 484 S.W.3d 110 (Mo. Ct. App. 2015); Wiles v. Capitol Indem. Corp., 215 F.Supp.2d 1029

(E.D.Mo. 2001); Union Ins. Co. ofProvidence v. Williams, 261 F.Supp.2d 1150(E.D.Mo. 2003);

In re Am. Wood Concepts, LLC, No. 08-50791, 2010 WL 1609690 (Bankr. W.D.Mo Apr. 20,

2010).

         WHEREFORE Farmers respectfully requests this Court enter an order granting Farmers'

Motion for Summary Judgment and thus dismissing Plaintiff's claims with prejudice, and for such

other relief as the Court deems just.

                                            Respectfully submitted,

                                           BROWN & JAMES,P.C.

                                         /s/ Timothy J. Wolf
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was sent via the
Court's electronic filing system this 21'day of June, 2019, to:

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